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 1    TIMOTHY J. SILVERMAN, ESQ., BAR NO. 145264
      SOLOMON, GRINDLE, SILVERMAN & SPINELLA
 2    A Professional Corporation
      12651 High Bluff Drive, Suite 300
 3    San Diego, California 92130
      Telephone: (858) 793-8500
 4    Facsimile: (858) 793-8263
 5    Attorneys for Plaintiff
      MICHAEL GUERREIRO
 6

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 8                            UNITED STATES BANKRUPTCY COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10

11    In re                                 )             Case No: 06-02200-M7
                                            )
12          NAOMI DYE-CHEN aka NAOMI        )             Adv. Pro.
            CHEN,                           )
13                                          )             Chapter 7
                        Debtor.             )
14                                          )
      _____________________________________ )
15                                          )             COMPLAINT TO DETERMINE
      MICHAEL GUERREIRO,                    )             DISCHARGEABILITY OF DEBT
16                                          )
                        Plaintiff,          )             [11 U.S.C. §523]
17                                          )
      v.                                    )
18                                          )
      NAOMI DYE-CHEN aka NAOMI CHEN,        )
19                                          )
                                            )
20                      Defendant.          )
                                            )
21                                          )
22

23            Plaintiffs, MICHAEL GUERREIRO ("Plaintiff"), complains and alleges as follows:
24                                          JURISDICTION
25            1.    This Bankruptcy Court has jurisdiction over this proceeding pursuant to 28 U.S.C.
26    §1471, 157 and 11 U.S.C §523(a)(2)(A) and §523(a)(6). This is a core proceeding pursuant to
27    28 U.S.C. §157.
28    ///
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 1                                                  VENUE
 2            2.     Venue is proper pursuant to 28 U.S.C. §1409.
 3                                                 PARTIES
 4            3.     Plaintiff is now and at all times herein mentioned was an individual residing in
 5    the County of San Diego, State of California.
 6            4.     Plaintiff IS informed and believes and upon such information and belief alleges
 7    that NAOMI DYE-CHEN aka NAOMI CHEN ("Debtor" or “Defendant”) is now and at all times
 8    herein mentioned was an individual residing in the County of San Diego, State of California.
 9    Plaintiff is informed and believes that at all times herein mentioned, the Debtor was the owner
10    and managing member of Chen Acquisitions LLC.
11            5.     Plaintiff is a creditor of the Debtor’s and has been included in the Schedule of
12    Obligations filed by the Debtor in the bankruptcy proceeding.
13            6.     The Debtor filed this voluntary petition for relief under Chapter 7 of the United
14    States Bankruptcy Code on August 13, 2006.
15            7.     James L. Kennedy is the duly qualified and appointed Chapter 7 Trustee.
16                                      FIRST CLAIM FOR RELIEF
17                                          11 U.S.C. §523(a)(2)(A)
18            8.     Plaintiff realleges and incorporates herein by reference paragraphs 1 through 7 of
19    Plaintiff's Complaint as though fully set forth herein.
20            9.     On or before July 25, 2005, based upon a pre-existing, long-time friendship, the
21    Debtor approached the Plaintiff with an investment scheme whereby the Plaintiff would invest
22    money with her and her company, Chen Acquisitions LLC. Amongst other things, the Debtor
23    represented to Plaintiff that the entirety of the funds would be used to invest in real estate. The
24    Debtor represented that the targeted real estate was foreclosed properties which could be re-sold
25    at a high profit. The Debtor represented that Plaintiff would earn a net profit of 40% on his
26    invested funds in a very short period of time, i.e., in a matter of months. The Debtor represented
27    that she would fully disclose all aspects of the transaction to Plaintiff and keep him abreast of all
28    material developments. The Debtor represented that Plaintiff could have his funds returned to
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 1    him at any time by cashier’s or certified check, to be paid within ten (10) business days. The
 2    Debtor used her friendship with the Plaintiff to gain his confidence and trust in the proposed
 3    investment.
 4               10.   To make it appear that the investment was legitimate and genuine, the Debtor
 5    insisted that the parties formalize the investment in writing with an Agreement, whereby the
 6    material and salient terms and conditions of the investment arrangement would be set forth
 7    therein.
 8               11.   The Debtor made the representations set forth above, and others, with a specific
 9    intent to induce the Plaintiff to invest money with her and Chen Acquisitions LLC.
10               12.   Based upon the Debtor’s intentional representations, as well as the trust and
11    confidence that the Plaintiff had in the Debtor due to their long-standing friendship, the Plaintiff
12    made the following investments, each memorialized in a separate Agreement:
13                     A.     On July 25, 2005, Plaintiff invested $45,000.00, with the promise that he
14                            would receive $63,000.00, or a net profit of 40%; and
15                     B.     In or about May, 2005, Plaintiff invested $15,000.00, with the promise
16                            that he would receive a large net profit of at least 40%.
17               13.   Without any knowledge that the representations were false or misleading, the
18    Plaintiff reasonably and justifiably relied upon the Debtor’s representations. The Plaintiff relied
19    upon his pre-existing and long-standing friendship with the Debtor to invest the funds as well as
20    the fact that other mutual friends of the Plaintiff and Debtor were also investing funds in the
21    Debtor’s scheme. In fact, the Debtor introduced numerous individuals to Plaintiff described as
22    satisfied existing investors for the purpose of allaying any fears or concerns that the Plaintiff had
23    in making the investment and to instill confidence in the transaction.
24               14.   Plaintiff fully performed all conditions, covenants and promises required on its
25    part to be performed in accordance with the terms and conditions of the Agreements.
26               15.   Considering the totality of the circumstances, the Debtor obtained Plaintiff’s
27    funds totaling $60,000.0 by false pretenses, or, alternatively, actual fraud, in that the
28    circumstances constituted a classic Ponzi scheme. The Debtor did not intend to follow through
                                                      3
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 1    with any of the representations made to the Debtor and simply used the investment scheme as a
 2    vehicle for inducing the Plaintiff to invest funds with the Debtor. As a result, the Debtor took the
 3    funds invested by the Plaintiff and used those funds for her own personal use and benefit.
 4            16.     Despite repeated demands resulting in a long string of additional
 5    misrepresentations and deceit, the Debtor never made any payments to the Plaintiff.
 6            17.     There is now due and owing by the Debtor to the Plaintiff the total principal sum
 7    of $60,000.00, plus interest thereon from July 25, 2005, and other costs.
 8            18.     Because the Debtor obtained the $60,000.00 in funds due to false pretenses, or,
 9    alternatively, actual fraud, the debt owed to the Plaintiff should be determined to be
10    nondischargeable pursuant to §523(a)(2)(A), and that the Debtor be held liable to Plaintiff for
11    $60,000.00, plus interest thereon from July 25, 2005.
12                                      SECOND CLAIM FOR RELIEF
13                                             11 U.S.C. §523(a)(6)
14            19.     Plaintiff realleges and incorporates herein by reference paragraphs 1 through 18
15    of Plaintiff's Complaint as though fully set forth herein.
16            20.     As set forth above, the Debtor wilfully and maliciously injured the Plaintiff by her
17    fraudulent acts as set forth in detail above. The Debtors’ acts caused willful and malicious injury
18    to Plaintiff or to the property of Plaintiff.
19            21.     As a result of these acts, Plaintiff has been damaged in the amount $60,000.00,
20    plus interest thereon from July 25, 2005, and other costs.
21            22.     Based on the foregoing, the debt owed by Debtor to Plaintiff in the principal
22    amount $60,000.00, plus interest thereon from July 25, 2005, and other costs should be excepted
23    from discharge pursuant to 11 U.S.C. §523(a)(6).
24            WHEREFORE, Plaintiff prays for judgment as follows:
25            1.      That this Court determine the obligation of the Debtor to Plaintiff be deemed to
26    be non-dischargeable under 11 U.S.C. §523(a)(2)(A) and/or §523(a)(6);
27            2.      That judgment be entered against the Debtor in the principal amount of
28    $60,000.00, plus interest thereon from July 25, 2005;
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 1                 3.   For an award of costs;
 2                 4.   For such other and further relief as this Court deems just and proper.
 3    DATED: November 17, 2006                             SOLOMON, GRINDLE, SILVERMAN &
                                                           SPINELLA
 4

 5                                                         By: /s/ Timothy J. Silverman
                                                           Timothy J. Silverman, Esq.
 6                                                         Attorneys for Plaintiff MICHAEL GUERREIRO
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